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                 Universiry of lrlaqdand University College
 The Graduate School
 Cybersecurity & Infonnation Assurance Depoftn ent



 United States Department of Homeland Security
 Citizenship & Immigration Services

                                                                                August 15,2018

Re: Academic Degree Requirements for the position of Application Support-ITRR for Tekway,
Inc. and classification of the position as an Entry-Level USCIS Specialty Occupation, evaluation
of the academic credentials of Mr. Vinaykumar Swarna, and suitability of Mr. Swama for the
position.

To Whom It May Concem

     I have been asked to evaluate the professional position of Application Support-ITRR for
Tekway, Inc., and the suitability of Mr. Swarna for the position based on his academic
credentials.

        Regarding my educational background and qualifications,    I have received a Bachelor of
Science   in Finance fiom    Touro College, a Master of Science in Internal Auditing and
 Management from City University, a Master of Science in Information and Telecommunication
 Systems for Business from Johns Hopkins University, as well as a Ph.D. in Managcment,
 Information Systems and Electronic Commerce from City University. I have over thirty years of
 wotk, consulting, and research experience in the field of information systems development,
 including technology project implementations for Fortune 1000 companies and international
 corpomtions. I have also served as Research Assistant Professor of Computer Science at Johns
 Hopkins University among other appointments. My leadership and technology research has been
 well supported. My research in information technology, computer science, information systems,
 cloud computing, data science, and othcr areas has been supported by grants from the United
 States Department of Defense, the US-lsrael Science and Technology Foundation, and other
 organizations. My opinions have been accepted as authoritative in numerous instances, including
 serving as a consultant andlor research collaborator for: Microsoft Corporation, Lucent
Technologies, L3 Technologies, TATA Interactive Group, Boeing Corporation, and other
leading technology fttms, as well as for corporations such as Bank of America and Bank of
China, and for the National Security.Agency, the Department of Defense, and the Department of
Homeland Security. Since 2013, I have served in the role of Senior Technical Auditor at T.
Rowe Price, in which I serve an authority on the cybersecurity needs for the company.
Additionally, my opinions regarding employment position requirements and industry standards
have been accepted by United States Citizen and Immigration Services (USCIS) in hundreds of
instances. I have published numerous journal articles, conference procecdings, technical reports,
editorials, a book and book chapter as well as presented talks on information security,
infomration technology, and related topics. A1so, I have served on the Editorial Boalds for
several professional journals, as well as on the Program Committees for numerous professional
conferences. My cunent research interests include: advanced software engineering, emerging
technologies, business intelligence, cybersecurity, cloud computing and related areas.


1616 McCornick Drive, Largo, MD 20774 tlSA
240-684-2400     .   Fax240-684-2401' w'ttrlt.umuc.edu/grad



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        Cun'ently, I am a Senior Technical Auditor for T. Rowe Price providing subject matter
expertise seryices in cybersecurity to various departrnents within the organization. I also senre as
a Full Adjunct Professor of Cyber Security at the University of Maryland-University College. I
teach the final capstone course involving a unique simulation and modeling component in the
Master   of   Science   in   Cyber Security Program.   In the past, I have taught graduate      and
undergtaduate courses in Internet Applications, Management Infonnation Systems, and related
subjects. Our university offers Bachelor's degree programs in different areas of Information
Technology as well as a Master of Business Adrninistration (M.B.A.) degree program, the
requirements for which I am thoroughly familiar with as a member of the university faculty. I
have had the opportunity over the years to become familiar with the qualifications required to
attain the position of Application Support-ITRR and similar professional positions, and the
specialized and unique needs of the companies that recruit graduates for this position. For these
reasons, I am eminently qualified to render the following professional opinion.



                   Overview of Application Support-ITRR Position

        Established in 2005, Tekway Inc. is an IT services and resources provider that uses
internal staff, outside consulting resources, and project outsourcing in order to meet the
technology goals of their clients. The company seeks to combine their technology and domain
expertise with their focus on business to provide their clients with the best solution for their IT
needs. Currently, Tekrvay, Inc. requires the services of an Application Support-ITRR to perform
various specialized duties that will help ensure the company's continued success as it expands.

        It is apparent that an Application Support-ITRR with the specific duties listed below
would be considered an entry-level professional position and would normally be filled by a
graduate with a minimum of a Bachelor's Degree in Information Systems, Information
Technology, or a related area. The Application Support-ITRR for Tekway, Inc. will be
superuised by a Senior Software Developer and will be responsible for the following duties:

   .   Analyzing the business requirements and functional specifications (10%);
   o   Gathering the system requirements;
   o   Interacting with the other teams about finalizing and clarifying the requirements, the
       systems requirements will be approved and sent for the next level approvals;
   o   Participating in daily review rneetings to meet the quality deliverables within the time
       frame;

   .   Designing and implementing of Biometrics application (45%);
   o   Documenting the code based on the system requirements and enhancing it to meet the
       requirements;
   o   Developing, modifying, and enhancing the JAVA APIs;
   o   Designing and developing an interface to communicate between the Biometric
       applications and voice tone;
   o   Using HTTP for communications between the applications and application interface,
       using subversion for source code management tool;



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    .   Testing the Biometrics (10%);
    o   Executing SQL queries to ensure the data availability and data source connection;

    .   Providing Production Support (35%);
    o   Developing a roll back plan to use in case of issues;
    o   Coordinating the test and production deployments and resolving the issues during the
        deployments;
    o   Providing the weekend supports for system upgrades and providing system upgrades and
        providing technical support for back outs;
    o   Providing support to address the WebSphere and Window server issues;
    o   Providing the Tier One support for the users;
    o   Managing the users, administrators, and application/mechanized accounts in the resource
        and ensuring the appropriate level of access according to the security policy and
        requirement;
    o   Reviewing the MOTS application associated to the resource and ensure its accuracy;
    o   Managing the content of our resource in accordance with the organization records and
        information management (RIM); and
    o   Being involved in on-call application product support.

          Application Support-ITRR Position as a Specialty Occupation

         When evaluating the minimum degree requirement for a certain employment position, the
 nature of the specific responsibilities must be closely examined along with the position title to
 ascertain the true nature of the academic requirements. After examining the responsibilities of
 the Application Support-ITRR position in detail, it is apparent that a minimum of a Bachelor's
 Degree in Information Systems, Information Technology, or a related area, or the equivalent
provides the student with the core competencies and skills needed for an Application Support-
ITRR position with the responsibilities listed above. This is because the nature of these specific
responsibilities and knowledge is so specialized and complex that knowledge required to perform
these duties is usually gained through the attainment of a Bachelor's Degree in one of these
fields. A student completing a Bachelor's Degree in Information Systems, Information
Technology, or a related area studies and obtains knowledge of the various theories and methods
 that are necessary for performing these daily tasks of an Application Supporl-ITRR for Tekway,
Inc. Courses required by an Information Systems or Information Technology major, such as
those in Computer Programming, Information Systems, Data Communication and Networking,
Data Management, Business Intelligence, Control Systems, IT Project Management, Information
Security, Database Theory, Information Technology, directly correspond to and prepare the
student for the specific responsibilities of the position. The student completing such a degree is
also required to demonstrate, through rigorous testing and challenging case sfudies, knowledge
of various theories and methods that are necessary to perform these tasks. Furthermore, this type
of position is a typical job placement for students completing a Bachelor's Degree at our school.
Employers with openings for Application Support-ITRRs and similar professional positions have
recruited at our campus, always seeking graduates with the minimum of a Bachelor's Degree.




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         In more detail, duties   such as analyzing the business requirements and functional
 specifications could only be performed competently by a candidate with at least a Bachelor's
Degree in Information Systems, Information Technology, or a related area. In a Business
Intelligence course taken by an Information Technology or Information Systems major, the
student receives training in the use of information technologies in the business/organizational
contexts, covering such topics as data collection and analysis, performance evaluations, and
policy strategy and planning, which is necessary for designing and implementing of Biometrics
application and designing and developing an interface to communicate between the Biometric
applications and voice tone. Further, the necessary background knowledge in executing SQL
queries to ensure the data availability and data source connection is gained by the Information
Technology or Information Systems student through his/her completion of a Data
Communication and Nefworking coruse. Moreover, a course in IT Project Management required
in many Information Technology and Information Systems degree programs will prepare the
student for the responsibility of managing the users, administrators, and application/ mechanized
accounts in the resource and ensuring the appropriate level of access according to the security
policy and requirement. Clearly, a candidate must have completed course work and training in
Information Systems, Information Technology, or a related area at the undergraduate level at a
minimum to competently handle the duties required by the Application Support-ITRR position.

         In addition, after comparing the responsibilities of this Application Support-ITRR
position to existing job categories as defined by the Occupational Outlook Handbook 2017-2018
Edition (OOH) published by the United States Department of LaborlEmployrnent and Training
Administration (USDOL/ETA)1, it is clear that this position should be classified as a "software
Developers" occupation. The OOH classification for Software Developers indicates that
individuals in these types of positions are responsible for such duties as analyzing users' needs
and then design, test, and develop software to meet those needs, recommending software
upgrades for customers' existing programs and systems, designing each piece of an application
or system and plan how the pieces will work together, creating a variety of models and diagrams
(such as flowcharts) that show programmers the software code needed for an application,
ensuring that a program continues to function normally through software maintenance and
testing, documenting every aspect of an application or system as a reference for future
maintenance and upgrades, and collaborating with other computer specialists to create optimum
software. Upon comparing the duties performed by the Application Support-ITRR for Tekway,
Inc. with the duties generally performed by Softrvare Developers, it is apparent that the
Application Support-ITRR's duties are typical of a Soffware Developers and clearly correspond
to the duties listed under the category of Software Developers in the OOH. It is noted in OOH
that the entry level education for a Software Developers is a Bachelor's Degree, and that most
have a Bachelor's Degree in a computer-related field.

       Similarly, in consulting another respected resource, the O*NET2 classification for
Software Developers, Applications indicates that individuals in these types of positions are
responsible for such duties as modifying existing software to correct elrors, allowing it to adapt
to new hardware, or to improve its perfoffnance; analyzinguser needs and software requirements

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 to determine feasibility of design within time and cost constraints; conferring with systems
 analysts, engineers, programmers and others to design system and to obtain information on
project limitations and capabilities, performance requirements and interfaces; storing, retrieving,
 and manipulating data for analysis of system capabilities and requirements; designing,
 developing and modifying software systems, using scientific analysis and mathematical models
to predict and measure outcome and consequences of design; developing and directing software
 system testing and validation procedures; programing, and documentation; supervising the work
of programmers, technologists and technicians and other engineering and scientific personnel;
determining system performance standards; coordinating software system installation and
monitoring equipment functioning to ensure specifications are met; consulting with customers
about software system design and maintenance; and analyzing information to determine,
recommend, and plan computer specifications and layouts, and peripheral equipment
modifications. Upon reviewing the duties generally performed by Software Developers,
Applications according to O*NET, it is apparent the Application Support-ITRR for Tekway, Inc.
shares many of the same duties and falls under this occupational category. Additionally, O*NET
states that most Software Developers, Applications positions require a four year Bachelor's
Degree, and knowledge and skills in computers and electronics, engineering and technology, and
related areas.

        While the OOH and O*NET statements regarding the entry level education for a
Software Developers, Applications appear to leave the possibility open for a minority of
Software Developers, Applications positions to require less than a Bachelor's Degree, the
Application Support-ITRR at Tekway, Inc. would clearly be among the majority of Software
Developers, Applications positions which would absolutely require Bachelor's-level preparation
at a minimum. As an IT services and resources, Tekway, Inc. has extremely complex and
extensive IT needs. The entire operations of the company depend on the expertise of the
Software Developers, Applications to keep systems functional and optimized. As such, Tekway,
Inc. is among the employers that cannot afford to hire a candidate without at least a Bachelor's
Degree to safeguard its systems. Therefore, Tekway, Inc. would naturally seek out only a
Software Developers, Applications for a position such as Application Support-ITRR among the
majority of such professionals as described by OOH and O*NET who hold a Bachelor's Degree.

       Having reviewed the position in detail, it is my opinion that these duties are specialized
and require the theoretical and practical application of a body of highly specialized knowledge.
Moreover, the duties as described are that of a Specialty Occupation as I understand the term as
defined by the United States Citizenship and Immigration Services, which requires the
attainment of a minimum of a Bachelor's Degree in a specific specialty.



       Application Support-ITRR Position as an Entry-Level Occupation
        A close analysis of the company structure of Tekway, Inc. and the specific
responsibilities of the offered Application Support-ITRR position indicates that this position falls
into a distinct category of employment positions that involve both tasks which require Bachelor's
Degree preparation as detailed above, while at the same time are properly classified as only
entry-level. The specific functions of the Application Support-ITRR involve the application of



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 specialized knowledge obtained during undergraduate study, yet it is important to note that the
position requires limited, if any, exercise of judgement. The Application Support-ITRR at this
point in his or her career will perform routine technical tasks as specifically instructed by
supervisors. The Application Support-ITRR will not exercise any judgement regarding which
programming approach to apply to the real-world programming solutions required by the
company's clients; this advanced role is handled only by higher level professionals in non-entry
level positions within the company. For example, only a more experienced Application Support-
ITRR, such as a Senior Software Developer, would be involved in the critical discretionary
decision-making regarding which tasks need to be performed to create the needed result and to
achieve the best solution for the client. It is clear that the tasks that the Application Support-
ITRR performs are specialized, however these job duties are associated with an entry-level
Application Support-ITRR since they are routine tasks that involve following specific technical
instructions, procedures, and methodologies.

        The Application Support-ITRR for Tekway, Inc. is closely supervised by a Senior
 Software Developer, on a daily and weekly basis, to ensure that the specific instructions for
required tasks are executed properly. The Application Suppoft-ITRR receives significant level of
oversight as required for someone relatively new to the profession; this includes being given
specific guidance and instruction for all tasks to be completed. The Application Support-ITRR
spends time performing custom application development according to exact guidelines clearly
delineated by the Senior Software Developer. An individual in this senior position establishes
documented deployment steps to be followed by the lower-level Application Support-ITRR. The
Senior Software Developer also trains the Application Support-ITRR in prioritizing issues. This
is consistent with a typical entryJevel role in which the employee is closely monitored and needs
to gain further experience before being able to exercise judgment regarding resource allocation
and prioritization.

        It is common for Information Technology (IT) roles such as the Application Support-
ITRR for Tekway, Inc. to begin their careers handling more generic IT duties such as
independently performing assigned programming work, which they can complete without
support given their completion of university studies. After an initial period of entry-level work
experience, however, an IT role such as the Application Support-ITRR for Tekway, Inc. will
have gained valuable, specialized expertise in developing customized information systems and
only then can start to make decisions about determining project specifications and goals. The
Application Support-ITRR starting out his/her career will usually transition from engaging in
routine programming. activities to generating software development plans.for others to follow
after progressing from the initial entry-level role.

        Further, throughout the course of completing a Bachelor's Degree in a computer or
related technical field, the student's experience actually mirrors, and provides a strong
foundation for, the software development lifecycle in which he or she will be immersed during
an entry-level employment position following graduation from the Bachelor's program. The
primary components of the software development lifecycle include requirements gathering,
designing, coding, testing, debugging, and deployment. The job duties of an entry level
Application Support-ITRR typically involve following the predetermined guidelines and
technical methodologies of the software development lifecycle. Similarly, the student completing



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    an IT-related Bachelor's program first receives specific instructions from the instructor regarding
    what actions to take in certain scenarios, proceeds to execute those actions during programming
    and coding utilizing the programming languages and algorithms that they have studied in class,
    and then the instructor reviews the code generated and grades the student based on their proper
    application of the obtained knowledge. Ultimately, the ability to perform assigned programming
    tasks under superuision, a prrmary characteristic of an entry-level position, is gained specifically
    by a graduate of a Bachelor's Degree in a computer- or related technical field.


                 Industry Standard for Application Support-ITRR Position
         Additionally, it is standard for a company such as Tekway, Inc. to hire an entry-level
Application Supporl-ITRR and require that individual to have attained at least a Bachelor's
Degree in Information Systems, Information Technology, or a related area. lt is typical for IT
services and resources to hire an Application Support-ITRR or someone in a similar professional
position who has recently graduated from a Bachelor's Degree program in Information Systems,
Information Technology, or a related area. The success of Tekway, Inc., as of similarly situated
companies, is largely dependent on the ability and expertise of an Application Support-ITRR and
other professionals, as the specialized duties of these individuals directly and indirectly affect the
company's operations, revenues and profits, and ultimately the overall success of the company.
Therefore, the industry standard for a position such as Application Support-ITRR for Tekway,
Inc. is to be filled through recruiting a recent college graduate with the minimum of a Bachelor's
Degree in Information Systems, Information Technology, or a related area, or the equivalent.

        Further, the prevalence of a Software Developers, Applications within companies like
Tekway, Inc. which are engaged in Computer Systems Design and related services is significant,
as according to data from the OOH, individuals employed in such occupations within that
industry stood at approximately 418,700 in 2016 and is projected to reach 159,400 in 2026,
growing at a rate of 43.4%o.3 This figure demonstrates that a position such as the Application
Support-ITRR being offered by Tekway, Inc. is common within its industry sector, and
increasingly essential.



       Summary of the Position of Application Support-ITRR for Telavay, Inc.

        In summary, in the matter of the employment position of Application Support-ITRR
offered by Tekway, Inc., it is my professional and experienced opinion that the described job
duties are of an entry-level professional nature and require preparation at the Bachelor's Degree
level in Information Systems, lnformation Technology, or a related area at a minimum. The
USCIS defines one of the standards for a Specialty Occupation as a position that requires a
Baccalaureate or higher degree or its equivalent for the particular position. It is my opinion that
this Application Support-ITRR position meets this requirement and qualifies as a USCIS
Specialty Occupation, and that this position qualifies as an entry-level position.



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                  Evaluation of Academic Credentials of Mr. Swarna

      The following evaluation reflects the academic credentials attained by Mr. Vinaykumar
Swarna during the course of his academic studies. An analysis of Mr. Swarna's attainment of a
Master of Science in Information Systems Technologies - Information Assurance from
Wilmington University forms the basis for the following evaluation.

ACADEMICS

         a   Wilmington University is an accredited institute of higher learning in the United
             States.


        Wilmington University's Master of Science in Information Systems Technologies -
Information Assurance program requires gtaduation from Bachelor's-level studies and
competitive entrance examinations for admission and enrollment. Mr. Swarna completed all
qualifying academic course work subsequent to his enrollment in the institute. In May 2016,he
completed examinations and was awarded a Master of Science in Information Systems
Technologies - Information Assurance. In addition to having completed his course work in
general studies, Mr. Swarna has fulfilled the requirements in his area of concentration,
Information Systems Technologies - Information Assurance, and has earned a Master of Science
in Information Systems Technologies - Information Assurance from the institute.

       Having reviewed Mr. Swarna's academic history, it becomes apparent that Mr. Swarna
has satisfied requirements leading to a Master's Degree program at an accredited institution of
higher education in the United States.

SUMMARY

         On the basis of the credibility of Wilmington University, the number of years of course
work, the nature of the course work, and related areas, Mr. Swarna has attained a Master of
Science in Information Systems Technologies - lnformation Assurance from an accredited
institution of higher education in the United States.



      Suitability of Mr. Swarna for the Application Support-ITRR Position

        Having reviewed the responsibilities required by the Application Support-ITRR position
and the academic credentials of Mr. Swarna in detail, it is my expert opinion that Mr. Swama's
background has clearly prepared him for the position of Application Support-ITRR for Tekway,
Inc.. This is because the knowledge attainedby Mr. Swarna during the course of his academic
studies directly corresponds to, and is a necessary requirement for, the specific duties of the
position. As detailed above, the Application Supporl-ITRR position is an entry-level specialty
occupation that requires a Bachelor's Degree in Information Systems, Information Technology,
or a related area, or the equivalent. It is my opinion that this Application Support-ITRR position


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meets this requirement and qualifies as a USCIS Specialty Occupation, and that this position
qualifies as an entry-level position. Further, Mr. Swarna has exceeded that requirement by
attaining a Master of Science in Information Systems Technologies - Information Assurance
from an accredited institution of higher education in the United States based upon his extensive
academic background. For these reasons, Mr. Swarna is eminently qualified for this entry-level,
specialty occupation Application Support-ITRR position, and I therefore strongly encourage the
endorsement of the H-1B visa application filed by Tekway, Inc. on behalf of Mr. Swama.



Sincerely



/4;"/r^d/4{*"^n
Dr. Michael K. Lavine
Adjunct Professor
The Graduate School - Cybersecurity & Information Assurance Department




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                             Dn. MTcHAEL Knrrn Lavrnn
                                  E-Mail: mlavine@smail.com


                                     CAREER SUMMARY

Senior IT professional with over 25 years of work, consulting and research experience in information
systems development and technology project implementations for Forfune 1000 companies,
international corporations and medium-size regional organizations. A proven expert in the IT
industry with cument real-world experience leading large and medium technical teams. Previously,
a Research Assistant Professor in Computer Science at the Whiting School ofr.k,iineering at Johns
Hopkins University. At present, a Full Adjunct Professor of Cyber Securitl i,'the University of
Maryland - University College.

Extensive Expertise in: System Development, System Engineering, Enterprise Architecture,
Communication Systems, Cloud Computing, Cyber Security, E-Commerce Systems, Data Science,
Computer Networks and Protocols, Human Computer Interaction, Mobile Technologies, Computer
Forensics, Computer Hardware, Information Assurance, and Web Usability.

Prior Consulting and Grant Collaboration with: Microsoft Corporation, Lucent Technologies, NICE
Systems, Boeing Corporation, L3 Communications, Bank of America, Bank of China, CP Ships,
SiRRAN Corporation, Learning Tree Corporation, Carlson Wagonlit, C. Mer Corporation, Phoenix
Vessel Services, National Security Agency, Department of Defense, Department of Homeland
Security, LifeBridge Health System, and various International Law Firms.

Enterprise Systems: SAP, PeopleSoft, Oracle Financials, Salesforce and Workday

Database Systems: Microsoft SQL Server, MySQL, Oracle, DB2, and Sybase.

Programming, Markup and Scripting Languages: Java, Python, Perl, PHP, C#, C++, COBOL,
HTML, Visual Basic, XML, and Windows PowerShell.

Operating Systems: Windows, UNIX (e.g. AIX, Solaris, HP-UX), LINUX, OS/400, z/OS,andMVS.

Business Intelligence and Data Analytics: Microstrategy, Tableau, Qlick, SPSS, IDEA, and ACL.

Office Automation: MS-Office Suite, Office 365, Visio, MetricStream, and Lotus Notes.


                                          EDUCATION

Ph.D.    City University, Cass Business School, London, England, March 2007
         Major: Management
         Minors: Information Systems and Electronic Commerce
         Doctoral Program Ranking: 24th Globally by the Financial Times in200712008
         Research Project: Cyber Security Information Sharing in the United States: An
         Empirical Study Including Risk Management and Control Implications 2000-2003
         Dissertation Advisor: Professor Georges M. Selim

M.S.     Johns Hopkins University, Baltimore, Maryland, May 1999
         Information and Telecommunication Systems for Business
         Concentration: Telecommunication Systems
         Thesis Project: "Security and Trust Issues in Electronic Commerce"




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MSc.        City University, Business School, London, England, February 1997
            Internal Auditing and Management
            Thesis Project: "Implementing, Controlling and Auditing SAP R/3"

B.S.        Touro College, New York, New York, May 1988
            Finance - Magna Cum Laude and Departmental Honors
            Additional Coursework: 30 credit hours of undergraduate Accounting courses


                                     ACADEMIC EXPERIENCE


9l12 to Present                  University of Maryland - University College
6199   to 8105                   Adelphi, Maryland

Adjunct (Full) Professor - Currently, I am teaching the final capstone simulation and modeling
online course in the MS in Cyber Security Program. Previously, taught graduate and undergraduate
online courses in Internet Applications, Electronic Commerce, Management Information Systems,
Accounting lnformation Systems and Auditing.

glt1                             Johns Hopkins University - Information Security Institute
       -   6112
                                 Department of Computer Science, Whiting School of Engineering
                                 Carey Business School, Senior Professional Instructor
                                 Baltimore, Maryland

Research Assistant Professor                                                               7lr0 - 6112
Lecturer                                                                                   7109 - 6lt0
Adjunct Professor                                                                          7l\s * 6109

Provided classroom instruction for the Advanced Computer Forensics, Computer Forensics and
Information Assurance Policy courses in the specialized Masters of Science in Security Informatics
(MSSD degree program. Pursued various government and non-government research grant
opportunities. Developed a new course in Computer Forensics and work with industry practitioners
to collaborate on an interactive laboratory. Supervise various MSSI research projects in a wide range
of technical and policy domains. Also, provided classroom instruction for the following MBA
courses: Information Systems, Information Systems Financial Management, Technology
Management and Outsourcing, Organizational Behavior, Social Entrepreneurship and Auditing.

August 2005 to Summer       2010       University of Maryland      -   R.H. Smith School of Business
                                       College Park, Maryland

Lecturer
Taught the undergraduate Accounting Information Systems (BMGT326) course (3-4 sections per
semester) in addition to Auditing and Financial Accounting courses. Also, taught an MBA elective,
Information Technology and Cotporate Transformation in the Fall 2005 semester. Developed two
preliminary course syllabi for the new Executive Masters of Science (EMS) program.

October 1999 to June 2011              City University   -   Cass Business School
                                       London, England

Visiting Lecturer    -   Faculty of Management                                            r0    - 6lrt
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Associate Researcher       - Centre for Research in Corporate Governance                   4107 - 6lrl

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Advisory Board Member - Centre for Internal Auditing                                  lll04 - 6110
Provided classroom instruction for the Auditing Information Systems, Control and Auditing Systems,
Operational Auditing, Corporate Governance, Audit Practice, and Concepts of Control post-graduate
courses on the China EMBA, MSc. in Management and MSc. in Internal Auditing and Management
programs. Supervise various EMBA and MSc. student research projects.

Summer 2003 to Summer     2010       Norwich University
                                     Northfield, Vermont

Senior Instructor   -   Taught highly specialized on-line courses   in Human Factors,     Technical
Defenses, Management Topics and Foundations of Information Assurance in the Masters of Science
in lnformation Assurance degree progmm.

Fall1997 to June 2005                Towson University
                                     Towson, Maryland

Assistant Professor of Computer and Information Sciences (CIS)                       8103 - 6105
Visiting Assistant Professor of CIS and Accounting                                   8100 - 7103
Provided comprehensive classroom instruction for a variety of Computer Information Systems,
Computer Science and Business undergraduate courses including: Information Assurance, Computer
Security, Electronic Commerce, Systems Analysis and Design, Financial Aspects of Electronic
Commerce, HCI, MIS, AIS, Advanced Auditing, and Principles of Auditing. Served as project
manager for the National Security Agency's Center of Academic Excellence in Information
Assurance Education program which was accepted and certified upon the first submission in AY
2001-2002. Served as Co-Faculty Advisor for the Computer and Technology Club. Participated in
various committees related to Computer Science and CIS curriculum, research and student advising.

Senior Lecturer of Accounting                                                            9197 -7100
Provided classroom instruction for undergraduate classes in Accounting Information Systems,
Advanced Auditing, Principles of Auditing, Principles of (Financial) Accounting I, and Principles of
(Managerial) Accounting II; in this AACSB accredited accounting program. Advised accounting
students about career options, summer internships, and job opportunities. Served as liaison to CPA
firms and businesses for department functions, internship placement and student job fair.


                                  INDUSTRY EXPERIENCE


06113 to Present                     T. Rowe Price.Inc.
                                     Baltimore, Maryland

Senior Technical Auditor
Conduct reviews, assessments, audits and consulting projects of the organization's cyber security
technologies and high risk information technologies used by trading, portfolio management and IT
personnel. Specialize in incident response and management, Oracle and internally developed
applications. Provide cybersecurity SME seryices to various departments in the organization.

071I0 to 12116                       Cvber Securitv Groun. S.A
                                     Panama City, Panama

Chief Technology Officer
Provide technical thought leadership on a wide range of telecommunications security and technical
security countermeasures for clients in the government and private sectors. Assist the Managing
Director in developing business development strategy and sales and marketing activities involving
                                                                                                  3




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manufacturers, value added resellers and end customers. Research and develop customized solutions
for intelligence, military and 1aw enforcement uses.

 lll14 to 12115                       Mobile Security
                                       Seoul, South Korea

Chief Technology Officer
Provide technical thought leadership on a wide range of telecommunications security and technical
offensive mobile security techniques for small scale digital device for the government and private
sectors in Latin America. Assist the Managing Director in developing business development, sales,
marketing, and research activities for the company through various use cases for worldwide
application.


07110   to 5ll3                       Cvber Securitv Associates. LLC
                                      Baltimore, Maryland

Managing Director
Provided thought leadership to a foreign ally in Central America, U.S. national and state government
organizations and businesses on cyber security. Designed and developed a 9 course 100% online
Masters degree program in Cyber Security for the second largest public university in the USA.
Perform a wide range of technical and policy related cyber security projects in the USA and Latin
America.


lll03   to   7ll0                     Ilomelend Secn        Consultants. Inc.
                                      Baltimore, Maryland

Managing Director
Conduct and coordinate a wide variety of computer forensics, electronic discovery, IT auditing,
information assurance, securify, information systems, auditing, fraud investigation and management
consulting projects for a diverse group of international clients. Deliver professional training courses
in the United Kingdom, Europe and Asia. Develop extensive experience working with law
enforcement, goveffrment security specialists and senior business management.

10197   to 6100                       PricewaterhouseCoopers. LLP
                                      Baltimore, Maryland

Senior Associate - Operational and Systems Risk Management Services
Provided information technology audits, security reviews, and consulting services to a wide variety
of clients in the financial services, manufacturing, high technology, healthcare, middle market and
government sectors. Coordinated annual audit supportwork for large and medium size organizations.
Formulated business development strategies and specific opportunities to deliver additional firm
services to prospective and existing clients.


                     MAJOR RESEARCH AND TEACHING INTERESTS

 IT, Computer Science, Information Systems, Cloud Computing, Emerging Technologies, Mobile
 Commerce, Wireless Technologies, Artificial Intelligence,Data Science and Forensic Computing

                           E-LEARNING MANGEMENT SYSTEMS

                           Blackboard, WebCT, WebTycho and Moodle
                                                                                                     4




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                          GRANTS F'UNDED RESEARCH PROJECTS

"Developing and Evaluating a Standardized Approach to Security Management Systems for U.S. and
Israeli Hospitals: Security Management Systems and Required Technologies", (with W. Jaquis, M.D.
and S. Scharf, M.D.), U.S. - Israel Science & Technology Foundation, November 2004 to June 2006

"An Information Assurance Scholarship Program for Towson University", (with A. Behforooz and
P. Beere and J. Clements,), United States Department of Defense, August 2003 to August 2004

"The Role of the Intemal Auditor in Mergers, Acquisitions and Divestitures", (with G.M. Selim and
P.S. Sudarsanam), Institute of Internal Auditors Research Foundation, July 1999 to June 2002

Towson University, College of Graduate Education and Research, Summer Research Grant
(including matching funds from the College of Science and Mathematics),2002,2003, and2004


                             PUBLISHED JOURNAL ARTICLES

"Liberty Bell Hospital: A Case Study in Employee Computer Fraud", (with A.A. Baldwin and C.L.
Martin), Journal of Business Cases, Volume 2, Issue Number 3, Fall 2006

"The Role of Internal Auditors in Mergers, Acquisitions and Divestitures: An International Study",
(with G.M. Selim and P.S. Sudarsanam), International Journal of Auditing, Volume 7, Issue Number
3, November 2003

"Ten Professional Journals on Accounting Information Systems", (with A.D. Schiff), The Ohio CPA
Journal, AprillMay 2002

"A Comprehensive    Bibliography of Professional Journal Articles on Accounting Information
Systems", (with A.D. Schiffl, Review of Business Information Svstems, Fall2001

"The Impact of Electronic Commerce on lnformation Technology Auditing", (with A.A. Baldwin),
Review of Accounting Information Systems. Winter 2000

"Internal Audit Outsourcing: A View from Both Sides of the Fence". (with C.L. Martin), The CPA
Journal, March 2000

"Implementation Issues for SAP R/3 Accounting Software", (with W.R. Melville and G.D. Moyes),
Review of Ac coqrtin g Information Systems, F. all 1 997

"Fraud: Which Audit Techniques Work in Detecting Fraud?", (with G.D. Moyes), Corporate
Controller (now known as CFO), Volume 10, Issue Number 6, August/September 7997


      PEER-REVIEWED CONF'ERENCE PAPERS WITH PROCEEDINGS AND/OR
                             ABSTRACTS

"A Discretionary Access Control Method for Preventing Data Exfiltration via Removable Devices",
(with D. Wilson), Intemational Conference on Digital Forensics and Cyber Crime", Albany, New
York, September 30 - October 2,2009



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"The Roles of Artificial Intelligence, Data Mining, and Knowledge Management in Accounting and
Auditing:A Research Slmthesis", (with Trinkle, B., Baldwin, A., Balli, E., Berry, B., Deshmuh, A.,
McKee, T., Ragothaman, S., Rosner, R. and Yao, L.), Eighteenth Annual Research Workshop on
Strategic and Emerging Technologies, American Accounting Association Annual Conference, New
York City, New York, August 2,2009

"Acer Aspire Netbooks: A Forensic Challenge", (with A. Singh, T. Shiralkar and B. Turnbull), First
IEEE lnternational Workshop on Computer Forensics in Software Engineering, Seattle, Washington,
Iuly 20-24,2009
o'Computer
             Sofhvare Bugs and Other  IT Threats to Critical lnfrastructure: A Preliminary Set of
Considerations for IT Governance",  (with G. Selim), Seventh European Academic Conference on
Internal Audit and Corporate Governance, April 15-18,2009

"A Preliminary Approach to Conducting a Forensic Analysis of an Ultraportable ASUS Eee PC",
(with T. Shiralkar and B. Turnbull), The Intemational E-Forensics Conference, Adelaide, Australia,
January   l9-2I,2009

"An Efficiency Model Study to Evaluate the Impact of Port                                 Security
Activities on Port Productivity", (with M. Gonzalez, G. Quesada, and B. Trinkle), International
Symposium and Workshop on Global Supply Chain, Inter-Modal Transportation and Logistics,
Toledo, Ohio, October 25,2007

"Detecting Non-Discoverable Bluetooth Devices: A Parallelized, Collision Resistant and Condensed
Timing Approach", (with D. Cross, J. Hoeckle, J. Rubin and K. Snow), IFIP WG 11.10 First
International Conference on Critical Infrastructure Protection, Hanover, New Hampshire, March 16,
2007

"Interim Research Observations about Critical Infrastructure Protection Information and Corporate
Govemance Issues through Public and Private Sector Cooperation in the United States", (with G.M.
Selim), Third Annual Internal Audit and Corporate Governance Conference, London, England, April
9,2005

"The Role of Internal Audit in Critical Infrastructure Protection and IT Govemance: Developing a
Research Agenda", (with A.A. Baldwin and W.R. Melville), Second Annual Internal Audit and
Corporate Governance Conference, London, England, April 23, 2004

"A Cunent Perspective on the Diverse US Government Initiatives to Secure Cyberspace", Third
European Conference on E-Government, Dublin, Ireland, July 3, 2003

"An Undergraduate Track in Computer Security';, (with S. Azadegan,M. O'Leary, A. Wijesinha and
M. Zimand), Eighth Annual Conference on Innovation and Technology in        Computer Science
Education, Thessaloniki, Greece, July 1, 2003

"Protecting the United States Homeland against Information Warfare and Cyber Terrorism", Second
European Conference on Information Warfare and Security, Reading, England, June 30, 2003

"A Dedicated Undergraduate Track in Computer Security Education", (with S. Azadegan, M.
O'Leary, A. Wijesinha and M. Zimand), Third World Conference on Information Security Education,
Monterey, California, Jlur:'e 27, 2003




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     Case 1:19-cv-00358-BAH Document 4-3 Filed 04/29/19 Page 16 of 46


"Utilizing Vulnerability Scanning Tools in an Introductory Undergraduate Information Systems
Security Course", Sixteenth Annual Federal Information Systems Security Educators Association
Conference, Silver Spring, Maryland, March 4,2003

"The U.S. National lnfrastructure Protection Center: 1999-200L - A Research in Progress Study",
Third Australian Information Warfare Conference, Pefth, Australia, November 28,2002
"Benefits of Recognition as a Center of Academic Excellence in Information Assurance Education
by the U.S. National Security Agency'', (with S. Azadegan), Third Australian lnformation Warfare
Conferenc e, Perth, Australia, Novemb er 29, 2002

"Information Sharing in Information Systems Security and Auditing", First European Academic
Conference on Internal Audit and Corporate Governance, Prague, CzechRepublic, October 18,2002

"The Role of Intemal Auditors in Mergers, Acquisitions and Divestments", (with G.M. Selim and
P.S. Sudarsanam), First European Academic Conference on Internal Audit and Corporate
Governance, Prague, Czech Republic, October 18,2002

"U.S. Federal Government Attempts to Address the Changing Issues in National Security: An
Investigation into the Role of IT Security Protection", International Applied Business Research
Conference, Puerto Vallarta, Mexico, March 16,2002

"Liberty Bell Hospital: A Case Study in Employee Fraud", (with C.L. Martin), International Applied
Business Research Conference, Cancun, Mexico, March 2l ,2001

"New Strategies for Global Financial Reporting in the New Economy", (with M. Maloo),
International Association for Accounting and Education Research, Third Biennial Intemational
Accounting Research Conference, Kobe, Japan, October 7,2000

"Key Information Technology Security, Trust and Audit Concems in an Electronic Commerce
Environment", Asian Academic Accounting Association,2000 Annual Meeting, Singapore, August
28,2000

"The Effectiveness of Federal Government Programs in Healthcare Fraud", (with R. Komenski and
C.L. Martin), Decision Sciences Institute, 1999 Annual Meeting, New Orleans, Louisiana,
November, 20,1999

"The Impact of Electronic Commerce on Information Technology Auditing", (with A.A. Baldwin),
Eighth Annual Research Workshop on Artificial Intelligence and Emerging Technologies in
Accounting, Auditing and Tax, San Diego, California, August 14,1999

"Internal Audit Outsourcing: A View From Both Sides of the Fence", (with C.L; Martin), American
Society of Business and Behavioral Sciences, 1999 Annual Conference, Las Vegas, Nevada,
February 12,1999



                                       INVITED TALKS
"Enterprise Risk Management and Its Strategic Role in Belgian Public Sector Services", Executive
Staff Secretaiatto the Prime Minister, Federal Government of Belgium, March 18,2010

"Security Management Systems in the U.S. and Israel: A Grant Project Status Update", Maryland
Chapter of the International Healthcare Security and Safety Association, Baltimore, MD, October
12,2005
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"Mergers and Acquisitions: The Role of Internal Auditors", Institute of Internal Auditors, Financial
Services Conference, Arlington, VA, April 12,2004


        BOOKS" BOOK CIIAPTERS. TECHNICAL REPORTS. AND EDITORIALS

"Information Security and Assurance", Book Chapter, Introduction to Maritime Securitv, Editor
M. McNicholas, Butterworth-Heinemann Publishing, London, December 2007

"Detecting Bluetooth Devices", (with D. Cross, J. Hoeckle, J. Rubin and K. Snow), Book Chapter,
IFIP Series on Critical Infrastructure Protection, Editors E. Goetz and S. Shenoi, Springer Publishing,
November 2007, ISBN 97 8-0-387 -7 5461 -I

"IT Security Essential Body of Knowledge: A Competency and Functional Framework", U.S.
Department of Homeland Security - National Cyber Security Division, Contributor and Subject
Matter Expert, Technical Report, September 2007

"E-Commerce and Auditing", (with A.A. Baldwin), An Editorial, International Journal of Auditing,
Volume 7, Issue Number 2, Jily 2003

"Mergers, Acquisitions and Divestitures: Control and Audit Best Practices", (with G.M. Selim and
P.S. Sudarsanam), Book, The Institute of Internal Auditors Research Foundation, Altamonte Springs,
Florida,2002

"Cotporate Fraud", Book Review, The Accounting Review, American Accounting Association,
Volume 74, Issue Number 2, August 1999


                               CURRENT RESEARCH IN PROGRESS

"Software Bugs   as   Vulnerabilities in the U.S. Critical Infrastructure"

"Arguments for Expanding the Utilization          of the Einstein   System   to the Private   Information
Infrastructure in the United States"

"An Event Study Analysis of U.S. Critical Infrastructure Protection"

"Threat Assessment and Communication Methods in the Critical Infrastructure Protection          -   A U.S
Perspective"


                 JOURNAL EDITORIALSHIPS AND REF'EREE POSITIONS

Member, Editorial Board, International Journal of Digital Forensics & Incident Response

Member, Editorial Board, Intemational Journal of Auditing

Ad-Hoc Reviewer, IEEE Security      & Privacy, International Journal of Critical Infrastructure
Protection, Joumal of Electronic Commerce Research, International Journal of Accountine. Auditins
and Performance Evaluation

Guest Co-Editor, International Journal of Auditing, Special Issue on the Impact of E-Commerce on
Auditing, Spring 2003
                                                                                                        8




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              SERVICE FOR ACADEMIC CONF'ERENCES AND MEETINGS

Conference Program Committee Member and Reviewer for the following events:

Colloquium of Information Systems Security Education, 2011
Human Aspects of Information Security and Assurance International Symposium, 2008 thru 2012
IFIP WG I 1 . 10 International Conference on Critical Infrastructure Protection , 207I thru 2007
International Conference on lntelligent Pervasive Computing, 2007

Reviewer for the following events

European Conference on Information Warfare and Security,2005 thru 2013
European Conference on Electronic Govenrment,2006 thru 2009
Hawaii Int'I. Information Systems Conference Computer Forensics Mini-Track, 2009,2008, and,
2007
International Conference on Information Warfare,2006 thru 2013


                                        CITIZENSHIP

                                    United States of America




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Software Developers                                                                                                                                                                                              ............ i



  fri,}ft3*\friy         What They Do           Work Environment                 How to Become One                           Pay            lob Outlook            State & Area Data               Similar Occupations                          More Info




 Summary
                                         Quick Facts: Softrarare Developers

  2017 Median Pay                                                                $103,560 per year
                                                                                 $49.79 per hour
  Typical Entry-Level Education                                                  Bachelor's degree

  llfork Experience in a Related Occupation                                      None

  On-the-job Training                                                            None

  Humber of,obs, 20t 6                                                           7,256,200
  lob Outlook,2016-26                                                            24o/o (Much faster than average)

  Employment Change, 2016-25                                                     302,500


 What Software DevelorcE_Dg
 Software developers are the creative mjnds behind computer programs. Some develop the applications
 that allow people to do specific task on a computer or another device. Others develop the underlying systems that run the devices or that control nehvork.

 Work Environment
 Many software developers work for firms that deal in computer systems design and related seruices, manufacturing, or for software publishers.


 How to Become a Software Developsg
 Software developers usually have a bachelor! degree in computer science and strong computer programming skills.

 Palt
 The median annual wage for software developers, applications was $101,790 in May 2017

 The median annual wage for software developers, systems software was $107,600 in May 2017

 Job Outlook
 Employment of software developers is projected to grow 24 percent from 2AL6 lo 2026, much faster than the average for all occupations. Software developers
 will be needed to respond to an increased demand for computer software.

 State & Area Data
 Explore resources for employment and wages by state and area for software developers,


 Similar Occup_a!!gns
 Compare      thejob duties, education, job growth, and pay of software developers with similar occupations.

 More lnformation, lncluding Links to O*NET
 Learn more about software developers by visiting additional resources, including O*NET, a source on key characteristics ofworkers and occupations.




 SUGGESTED CITATION:

 Bureau of Labor Statistics, U.S. Depa*ment of Labor, Occupationdl Outlook HandboNSoftware                                        Developers,
 on the Intemet at       hilpll7wh!9.sslasblswprlcl:ald:i0larmcgg!:lesbnelgsy8ercredsclgce.ls,htm                                                     (visited Septenber   A,    2018.




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Last Modified Date: Friday, April 13, 2018


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                 TOOLS                                  CALCULATORS                HELP                          INFO                                   RESOURCES
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                 Ec!nomic Releases                                                 Glossary                      Find ltl DQI-                          No Fear Act
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        LJ.s. Bureau   of Labor statistics |   ffice   of occupational statistics and Employment Projections, PsB suite 2135, 2 Massachusetts Avenue, NE Washington, DC 20212-0001
                                                                     www.bls.gov/ooh I Telephone: 1-202-691-5700 | Contact OOH




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August 20,2018


Dear USCIS Officer:

This letter is to establish that our company has        a   past practice of hiring persons with              a
baccalaureate degree, or higher in Computer Science engineering to perform the specialized duties
of an Application Support-ITRR (Software Developer).

The following individual performed services in the capacity of an Application Support-ITRR with a
Master's degree in Computer Science Engineering and lnformation Systems.


Enclosed are copies of the individual's degrees, transcripts and pay records.


                                                                Highest Educational
       Employee Name            Job Title                       Qualification

                                Software
                                                                Master's degree in
       Vinaykumar Swarna        Developer/Programmer
                                                                lnformation systems
                                Analvst
                                Software
       Jagadish Kumar                                           Master's degree in
                                Developer/Programmer
       Balusu                                                   lnformation systems
                                Analyst
                                Software
                                                                Master's degree in
       Deepthisha Jalli         Developer/Programmer
                                                                lnformation systems
                                Analvst


Please do not hesitate to contact me with any questions or concerns.


Sincerely,




Pavan Kumar
Operation Manager
Tekway lnc.
             4104 Sterling Road, Dowrers Grove, IL-60515, Phone 630-493-945819459




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   Case 1:19-cv-00358-BAH Document 4-3 Filed 04/29/19 Page 22 of 46



Phone: 630-493-9458/9459
Email: Pavan@tekwayinc.com




           4   1   04 Sterling Road, Dorvners Grove, IL-605 1 5, Phone 630-493 -945819459




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                          Lucid Technologies
                                                              The Logical Solutions
August 20,2018

To whom it may concern


This letter is to confirm that our company Lucid Technologies Inc. with office located at
8600 Freeport PKWY, STE 300, Irving TX 75063 is in the business ofproviding IT
staffing and software development services, and currently has 80 employees. We hereby
confirm that we employ individuals using SOC Code 15-1132, Software Developer, to
perform software programming tasks using various technologies. We require the
equivalent of a U.S. Bachelor's degree in Computer Science Engineering, Information
Technologies or related for this position.

If you have any fuither questions or require additional documentation,        please do not
hesitate to contact us.



Regards,


{
            q!l


Name: Shashidhar Devireddy
Title: President
Phone: 214385 4I44EXT 307
Email : devireddy@lucidtechinc.com




                           8600 Freeport Pkwy, Suite: 300, lrving, TX 75063
                               Tel: 214-38541 44, F ax'. 214-889-5857
                                       info@lucidtechinc.com
                                       www.lucidtechinc.com




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                                                 -'",il
                                         Tekwcy
                                       Paving the Way forTechnology



                                       EMPLOYMENT CONTMCT

This Employment Contract is entered into between Tekway Inc, incorporated in lllinois, bearing
EIN: XX-XXXXXXX, located at4L04 Sterling Road, Downers Grove, IL-60515 (hereinafter referred to
as "Employer"J, Vinay Kumar Swarna, bearing social security number 816-93-39L7, residing at 734
West Bode Circle, Hoffman Estates, ILfhereinafter refened to as "Employee"J as described below:
 [hereinafter referred to as "Employee") as described below:

.    Whereas, 'Employee' has expertise in the field of IT consulting services.
.    Whereas, 'Employee' has met with the Officer of 'Employer' to explore the possibilities of being
     employed as an Application Support Consultant.
.    Whereas, as 'Employee'meets the qualifications established for the job position, 'Employer'has
     expressed a willingness to hire 'Employee' on full-time hourly basis as an Application Support
     Consultant.
.    Whereas,'Employment Date'is agreed upon by both'Employer'and'Employee'as the date on
     which Employee reports to a billable assignment of the client of Employer.
.    Whereas, 'Term of Employment' is defined as the period of employment from 'Employment Date'
     to that date or the date on which this Employment Contract is terminated, whichever occurs first.

The'Employee'and'Employer'hereby mutually agree on June Sth 2017 to the following covenants:

1l   'Employee'agrees to accept employment with 'Employer' as an Application Support Consultant.

2)   'Employee' hereby acknowledges and agrees to the following conditions of employment during
     'Term of Employment':

     a)   'Employee' agrees to work on a full-time basis exclusively for 'Employer.' A workload of 40
          (forty) hours per week is considered as full-time employment.

     b)   Whenever'Employer' so directs, 'Employee'agrees to work either at the premise of
          'Employer' or at the premise of a Client of the 'Employer.'

     cJ   Whenever'Employee'works in the premises of 'Employer,''Employee'agrees to adhere to
          the conduct guidelines specified in 'Employee Conduct Guidelines Manual' of 'Employer' in
          force at that time.

     d)   Whenever 'Employee' works in the premises of any Client of 'Employer,' 'Employee' agrees
          to adhere to the prevailing employee conduct guidelines of the Client of 'Employer' in
          addition to the employee conduct guidelines of 'Employer.'

     e)   Whenever 'Employee' works in the premises of any Client of 'Employer,' each week
          'Employee' agrees to do the following tasks: [iJ keep track of the number of regular and
          overtime hours worked by day, (iiJ duly complete the'Time Sheet'in the format specified by
          either 'Employer' or the Client of 'Employer' as directed by 'Employer,' (iii) promptly obtain
          written approval on the'Time Sheet'from the supervising officer of the Client of 'Employer,'
          and (iv] promptly enter Internet form or fax 'Time Sheet' to 'Employer'the same business
          day in which such approval is obtained.

     0    Whenever 'Employee' receives any direct compensation from any CIient of 'Employer' or any
          other entity for the services provided by'Employee,' 'Employee' agrees to turn in all such
          monies to 'Employer.' However, 'Employee'is allowed to keep monies obtained from public
          performances in events recognized by'Employer'to be conducive for employment such as
          honorariums, awards, lecture fees, and article fees in the field of his or her profession,
          provided such activities do not interfere with regular work.


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    g)   'Employee' agrees to maintain the confidentiality of all matters related to in-house and Client
         projects of 'Employer.' 'Employee' hereby acknowledges that the following information is
         confidential and valuable to 'Employer':

              [1J Confidentiality related to the Clients of 'Employer': all information related to the
                  projects of Clients of 'Employer' including but not limited to the names of Client
                  organizations, locations of Client organizations, names of managers of Client
                  organizations, current projects of Client organizations, plans of Client related to
                  project extensions, plans of Client related to new projects, information technology
                  skill sets needed for Client projects and any other information related to the Clients
                  of 'Employer' that 'Employee' might obtain directly or indirectly during 'Term of
                  Employment.' This restriction does not apply for publicly available information
                  related to the projects of Clients of 'Employer.'

              (2J Confidentiality related to in-house projects of 'Employer': all information including
                  but not limited to the names, locations, nature, intended market segments,
                  Information technology skill sets, execution plans ofall in-house projects of
                  'Employer'and any additional information obtained directly or indirectly during
                  'Term of Employment.' This restriction does not apply to publicly available
                  information related to in-house projects of 'Employer.'

             (3] Confidentiality related to information technologlr methods and business practices of
                  Employer: all information related to the methodology used by'Employer' in
                  executing its in-house and Client projects, and all information related to the
                  business methods used by'Employer'to motivate its employees and grow its
                  business.

   h)    Non-Disclosure: 'Employee' agrees not to disclose any one during'Term of Employment' and
         for twelve months after termination of this Employment Contract any confidential
         information described in above sections g$), SQ), and g(3J to any party without express
         written authorization of an Officer of 'Employer.'

   D     Non-Publicity: 'Employee'hereby agrees to the following restrictions during'Term of
         Employment' and for a period of twelve months after termination of emplo]rment, on
         disclosing information related to in-house or Client projects of 'Employer' to any public or
         private forum through any communication media. Accordingly,'Employee'agrees to the
         following restrictions during this period: [i] not to communicate with press, (ii] not to share
         information with any public relation entity, (iiiJ not to write books, memoirs, articles,
         monographs or other publications related to in-house or Client projects, and [ivJ not to
         adversely impact the prospects of 'Employer' being listed in a stock exchange by interfering
         in public or private forums such as road shows, general body meetings, and other investor
         gatherings.

   j]    Non-Hire: 'Employee'hereby agrees that he or she will not hire or attempt to hire for his or
         her own company, or recruit or attempt to recruit for any other company, any employees of
         'Employer' either directly or indirectly during'Term of Employment' and for a period of
         twelve months after the termination of this Employment Contract. The only exception to
         this condition is when 'Employee' obtains a written authorization from an Officer of
         'Employer'to do so,

   kl    Non-Competition: 'Employee'hereby agrees that he or she will not compete directly or
         indirectly with 'Employer' in the field of information technology consulting during 'Term of
         Employment' and for a period of twelve months after the termination of this Employment
         Contract, unless 'Employee' obtains a written authorization from an Officer of 'Employer' to
         do so.

   l)    Non-Solicitation: 'Employee' hereby agrees that he or she will not solicit business from
         Clients of 'Employer'(either directly or indirectlyJ and other information technology

Employment   Contract                                                                          Page z of 4


         4104 Sterling Road, Downers Grove, IL-605 I 5, Phone 630-493-945819459




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           consulting firms that he or she gets to know as a direct/indirect consequence of being
           employed with 'Employer' during 'Term of Employment' and for a period of twelve months
           after the termination of this Employment Contract, unless'Employee'obtains a written
           authorization from an Officer of 'Employer' to do so.

      m) Whenever 'Employer'       so directs or upon termination of this Employment Contract,
           'Employee'agrees to return to an officer designated by'Employer'all material related to in-
           house projects of 'Employer' and/or Client projects of 'Employer,' Such materials include but
           not limited to software, hardware, software tools, tapes, floppy discs, CD ROMs, zip discs,
           external hard drives, other storage media, laptops, computers, manuals, libraries, books,
           activity charts, project planning materials, personal digital assistants, pagers, cell phones,
           keys, passwords, and other materials related to in-house and Client projects of 'Employer.'

      nJ   'Employee' hereby acknowledges that any violation of above thirteen conditions of
           employment fas described in sections 2 a) to 2 m) constitutes a material breach of this
           Employment Contract and is a sufficient basis for the termination of the employment of
           'Employee'with'Employer.' 'Employee' also agrees that in case of not returning any client
           property at the time of termination, "Employer" has the right to collect the said materials
           through legal channels. "Employee" also agrees to pay the "Employer" for any legal expenses
           that incur in this process of collecting the client materials / properties.

3)    In consideration of above services,'Employer'agrees to compensate'Employee'as described
      below:

      aJ   An hourly rate of $20/hr for straight over time hours, and you will not be paid for any
           vacation or public holidays. You will be paid as per hours mentioned in your client-approved
           timesheets.

4)    Termination: 'Employer'or'Employee'can terminate this Employment Contractwithout
      assigning any cause with a written notice of two weeks after fulfillingthe 12 consecutive
      months of employment. If the "Employee" fails to provide the mandatory 2 week notice,
      the "Employer" has the rights to withhold the pay for that particular period, in order to
      avoid damages to the employer or pay the damages to the client, that are caused due to
      the breach of contract by the "Employee".

6)    Force Majeure: Neither party shall be liable to the other party or be deemed to be in breach of
      this contract for any failure or delays in rendering performance arising out ofcauses beyond its
      control and without its fault or negligence. Such causes may include but are not limited to acts of
      God, act of a public enemy, fire, floods, epidemics, quarantine restriction, strikes, freight
      embargo, or loss of use of Internet site through no fault of either party.

7)   Conflict of Laws: The parties agree that they shall comply with all laws, rules, regulations,
     ordinances, or other requirement ofthe State of Illinois, Dupage County and other governmental
     agencies thathave regulatory oversight on the transactions described in this Contract. Any
     breach of laws, ordinances, etc. shall be borne exclusively by the party upon who said obligation
     rests. If a party breaches any of the aforementioned laws, rules, regulations, etc., said party shall
     indemnify and hold harmless the non-breaching party, its officers, employees, agents against any
     and all liability, loss, damages, penalties, cots or expenses for any damage or injury to real,
     personal, or intellectual property which the non-breaching party may sustain as arising out of or
     in connection with the Contract's covenants,

8l   Waivers: All conditions, covenants, duties, and obligations contained in this Contract may be
     waived by written agreement only. Forbearance and indulgence in any form or manner by either
     party shall not be construed as a Waiver or in any way limit legal and equitable remedies.

9l   Amendments: This contract cannot be amended except in writing executed by both parties.




Emplogment     Contract                                                                        Page 3 of 4


           4104 Sterling Road, Downers Grove, IL-60515, Phone 630-493-945819459




                                                    26
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 10J Duration of Contract: This Employment Contract shall be deemed to be in force from the date     of
     signing this Contract unless it is terminated in writing by either party,

 1   1) Entire Contract: The parties understand and agree that this Contract supersedes all other verbal
        or written agreements and negotiations by the parties relating to services in this Contract.

 12J Severability:    IfanyprovisionofthisContractisheldbyacourtof competentjurisdictiontobe
       invalid or unenforceable for any reason, the remaining provisions shall remain in full force and
       effect as ifthis Contract had been executed without that invalid provision,

 13] ThisContractshallbeconstruedunderandgovernedbythelawsoftheStateoflllinois.

       IN WITNESS WHEREOF, the parties hereto set forth their hand and seal on 06/05/20L7


Pa*a*" Kunar,,


 Name:                                                Name: ylnsy;aumar swarna

 Title: 0perations Manager                         Employee




Employment     Contract                                                                        Page 4 of 4


           4104 Sterling Road, Downers Grove, IL-60515, Phone 630-493-945819459




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                                                                                 Frting |hre VrHy ftr Tfrc!:nolcgf



August 20,2018


Ref: Employment of VinayKumar Swarna



Dear Sir/madam,


VinayKumar Swarna will be working att324 SouthFinley Road, Apt-lD,Lombard,lL-60169.
l, Pavan Kumar, Project Manager, Operations of Tekway, lnc. certifythat lshall be supervisingVinayKumar
Swarna as Application Support-ITRR /Software Developer and supervise work-related duties and
responsibilities. Our company has the ultimate control and authority over VinayKumar Swarna's day-today
activities at the end client, AT&T.


The beneficiary is required to communicate on a regular basis with our company in terms of hours worked,
status of assignment, performance feedback, and similar matters through regular communication (phone calls
and e-mails) to the Supervisor.


As an Application Support-ITRR /Software Developer, Mr. VinayKumar Swarna's specific duties include but are
not limited to the following:



        requirements, and went through the Software Requirement Specification document and Architecture
        document.



        Application Development tool.




        developer tool.

        before deploying it to the production.




        the application.




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ln performing these duties, VinayKumar Swarna will be working with the following technologies\platforms:


   Coding Languages                                   Java,J2EE

        Scripting                   JSP, Java Script, HTML,XML, CSS

      Frameworks                     Spring, Hibernate Struts

   Operating Systems                 Linux(Solaris),U nix windows

       CllCD tool                    Jenkins

       Database                     Oracle, Ms Sql server, My Sql, JDBC
      Webservers                     Tomcat, WebSphere
 Version control tools               SVN/GIT



Emplover emplovee relationship



       to-day basis for which the control is required. Tekway, lnc. has the sole authority to hire or fire the
       beneficiary and set the rules and regulations for the beneficiary's work,



       authority to assign her and is responsible for payment of his salary, administration of benefits and the
       payment of applicable taxes on his/her behalf.



       beneficiary Mr. VinayKumar Swarna. The beneficiary will report to Tekway, lnc.'s Project Manager
       Operations, Pavan Kumar, who will supervise the beneficiary's work and hence will maintain an
       employer employee relationship through the right of control, I further confirm that our company is
       the employer of the beneficiary as we control, the manner and means by which the beneficiary
       performs services for at the end client, Verizon, Our company exercises the authority to appraise
       performance, promote, demote, transfer laterally, approve authorization for leave of absence or
       terminate the beneficiary's employment. The beneficiary will communicate on a biweekly basis with
       Project Manager Operations, Pavan Kumar and submit the timesheets.
             41   04 Sterling Road, Downers Grove, IL-605 I 5, Phone 630-493-945819459




                                                    29
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           technical skills required to perform the assigned tasks and meet the market standards, Moreover, our
           company has the right to assign additional work to the beneficiary andfor to change the work
           assignment.



           personal records, including USCIS Form l-9. We also issue the beneficiary regular paychecks and
           required tax reporting forms (including W-2). We offer employee benefits (such as health insurance,
           direct deposits, etc.) to the beneficiary. We make employer contributions and withhold and will pay
           employee contributions on behalf of the beneficiary for federal income tax purposes. We also solicit
           regular feedback from the client about the work product of the beneficiary and include feedback in
           regular performance evaluations for this individual.

Please note     that our company is not a "United States Agent" within the meaning of 8          C.F.R. Section
214.2(hl(2)(i)(F). Our employees are guaranteed employment, are paid a salary and are provided corporate
benefits. We also deduct Social Security taxes and other Federal and State taxes, and issue our employee W2
statements at the end ofthe year.


Should you have any questions, please do not hesitate to contact the undersigned.



Yours Sincerely,




.F##c,x" r{*rru*..*

Pavan Kumar,
Project Manager, Operations
4104 Sterling Road
Downers Grove
il-6051s
Contact: (630)493-9458




                 4104 Sterling Road, Downers Grove, IL-60515, Phone 630-493-945819459




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                                         Candidate Evalua€ion Form

     Vinaykumar Swama                                   01:00 PM          Monday                      0212s120t8
      Candidates Name                                       Time       Day of Week                             Date

                                    XXXXXXXXXXXXXXXXXX
                                      Candidate's Telephone Number

           Lombard                                  L                                USA
      Location or City                          State                          Country

          AT&T                                  Tekway Inc                                     4.0
      Client                                    Company                        Candidate's Skill Level

               SKILLS TO BE TESTED DURING TECHNICAL INTERVIEW
   Skills to be tested    Score      Comment             Experience
          Java,J2EE                4.5                     Strong                        l2Months
    JSP, Java Script,
                                   4.5                     Strong                        l2Months
   HTML.XML. CSS
     Spring, Hibernate
                                   3.5              Good Experience                      l2Months
           Struts
   Linux(Solaris),Unix
                                    4                      Strong                        l2Months
        windows
          Jenkins                   3               Good Experience                      l2Months
   Oracle, Ms Sql
                                   3.5                   Very Good                       l2Months
  server, My Sql, JDBC
   Tomcat. WebSphere                4                      Strong                        l2Months
      SVN/GIT                      3.5                   Very Good                       l2Months
IBM RAD, Log4j,
                                    4                      Strong                        l2Months
Eclipse
                                                                           Technical Interviewer's #
                Ratings key:   0 : None         1   :
                                                  Training or Education            2 : Weak Experience
           213 : Basic experience 3 : Good   Experience 3+ : Very Good            4:Strong              5:Expert




                      4104 Sterling Road, Downers Grove, IL-60515, Phone 630493-9458/9459




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Overall Comments about the Candidate's Communication and Technical Skills
    o   He has experience in developing Web based JavalJ2EE applications and Biometric applications.

    o   Hands on experience in Core Java, Servlets, JSP, JDBC.

    o   Knowledge of Eclipse,Log4j and IBM RAD tool for the development of Java projects.

    o   Hands on experience WebSphere and Tomcat web seryers.

    o   Designed and developed web-based soffware using Spring MVC Framework.

    .   Worked on the JAVA Collections API for handling the data objects between the business layers and the
        front end.
    .   Using Agile methodologies to plan work for every iteration and used continuous integration tool to
        make the build passes before deploying the code to other environments.

    .   Implemented Hibernate framework to connect to database and mapping ofjava objects to database
        tables.
    o   Worked on SVN version Control Systems.

    e   Designed and developed Web Services to provide services to the various clients using Restful.

    .   Prepared Unit and System Testing Specification documents and performed Unit and System testing    of
        the application.

   r    Reviewed the code for ensuring adherence to Java coding standards.

   .    Developed Functional Requirement Document based on users requirement.

   o    Installation ofnew servers and configuration.

   o    Involved in on call applicationproduction support.

   o    Cohesive team worker, having strong analytical, problem solving and interpersonal skills.
                                            ****'F   GOOd Candidate ,.'l<x<'e*




                                                                           Yours sincerely


Pavan Kumar                                                     Employee Name: Vinaykumar Swarna
Operation Manager




                      4104 Sterling Road, Downers Grove, IL-60515, Phone 630-493-945819459




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August 20,20L8


Ref: Employment of VinayKumar Swarna



Dear Sir/madam,


VinayKumar Swarna will be working at!324 SouthFinley Road, Apt-LD,Lombard,lL-60169.
l, Pavan Kumar, Project Manager, Operations of Tekway, lnc. certify that I shall be supervising VinayKumar
Swarna as Application Support-ITRR /Software Developer and supervise work-related duties and
responsibilities. Our company has the ultimate control and authority over VinayKumar Swarna's day-today
activities at the end client, AT&T.


The beneficiary is required to communicate on a regular basis with our company in terms of hours worked,
status of assignment, performance feedback, and similar matters through regular communication (phone calls
and e-mails) to the Supervisor.


As an Application Support-ITRR /Software Developer, Mr. VinayKumar Swarna's specific duties include but are
not limited to the following:



        requirements, and went through the Software Requirement Specification document and Architecture
        document.



        Application Development tool.




        developer tool.

        before deploying it to the production.




        the application.




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    4104 Sterling Road, Downers Grove, IL-60515, Phone 630-493-945819459




ln performing these duties, VinayKumar Swarna will be working with the following technologies\platforms


   Coding Languages                                        Java,J2EE

        Scripting                     JSP, Java Script, HTML,XML, CSS

      Frameworks                          Spring, Hibernate Struts

   Operating Systems                      Linux(Solaris),U nix windows

       CllCD tool                         Jenkins

       Database                       Oracle, Ms Sql server, My Sql, JDBC
      Webservers                          Tomcat, WebSphere
 Version control tools                    svN/Grr



Emplover emplovee relationship



       to-day basis for which the control is required. Tekway, lnc. has the sole authority to hire or fire the
       beneficiary and set the rules and regulations for the beneficiary's work.



       authority to assign her and   is   responsible for payment of his salary, administration of benefits and the
       payment of applicable taxes on his/her behalf.



       beneficiary Mr. VinayKumar Swarna. The beneficiary will report to Tekway, lnc.'s Project Manager
       Operations, Pavan Kumar, who will supervise the beneficiary's work and hence will maintain an
       employer employee relationship through the right of control. I further confirm that our company is
       the employer of the beneficiary as we control, the manner and means by which the beneficiary
       performs services for at the end client, Verizon, Our company exercises the authority to appraise
       performance, promote, demote, transfer laterally, approve authorization for leave of absence or
       terminate the beneficiary's employment. The beneficiary will communicate on a biweekly basis with
       Project Manager Operations, Pavan Kumar and submit the timesheets.
              4l 04 Sterling Road, Downers Grove, IL-605 I 5, Phone 630493-9458/9459




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           technical skills required to perform the assigned tasks and meet the market standards. Moreover, our
           company has the right to assign additional work to the beneficiary and/or to change the work
           assignment.



           personal records, including USCIS Form l-9. We also issue the beneficiary regular paychecks and
           required tax reporting forms (including W-2), We offer employee benefits (such as health insurance,
           direct deposits, etc.) to the beneficiary. We make employer contributions and withhold and will pay
           employee contributions on behalf of the beneficiary for federal income tax purposes. We also solicit
           regular feedback from the client about the work product of the beneficiary and include feedback in
           regular performance evaluations for this individual.

Please note  that our company is not a "United States Agent" within the meaning of 8 C.F.R. Section
214.2(hX2Xi){F). Our employees are guaranteed employment, are paid a salary and are provided corporate
benefits. We also deduct Social Security taxes and other Federal and State taxes, and issue our employee W2
statements at the end of the year.


Should you have any questions, please do not hesitate to contact the undersigned.



Yours Sincerely,




Fif*l$t r{.e**.*"
Pavan Kumar,
Project Manager, Operations
4104 Sterling Road
Downers Grove
il-60515
Contact: (630)493-9458




                 4104 Sterling Road, Downers Grove, IL-60515, Phone 630-493-945819459




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                                                                  Tekwtly
                                                                Paving the Way forTechnology


       Project Status Reporl of VinayKumar Swarna for the month of May2018




                                         8 Status



                Gathering the Business Requirements and involved in
 1st week       discussion with teams.                                    done
                lnvolved in Technical and project management
 1st week       Discussions                                               done
 1st week       lnvolved in DB design and lmplementation                  done
 2nd week       API Desiqn document walkthrouqh                           done
 2nd week       API Document current Updation                             done
 2nd week       API Desiqn document review and enhancement updation       done
 3rd week       API Desiqn Document review 1                              done
 3rd week       API Desiqn Document review 2                              done
 3rd week       API Desiqn Document review 3                              done
 4th week       Documentation Baseline                                    done
 4th week       lnteoration of Develooment &ooerations                    done
 4th week       Set uo the reouirements of different API's                done




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     Pavan Kumar                                       Employee Signatur# VinayKumar Swarna
    Operation Manager




4104 Sterling Road, Downers Grove, IL-60515, Phone 630-493-945819459




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                                                                 Paving the Way fon Technology


Project Status Report of VinayKumar Swarna for the month of June 2018




     S;No                                                               ,..1:,,:,   :,gfgf[15 .,:   ;   ,


 1 st week     lnvolved in creatinq the Sample test lD's                done
 1 st week     Enhancinq the API with the Enhancement requirements      done
 1   st week   Enhancino the API to input the Sensitive data            done
 2nd week      lnstalled the encrvotion software on the servers         done
 2nd week      Loadinq encrypted SSN data to database                   done
 2nd week      Deplovments in both test servers                         done
 3rd week      Monitor the loqs after CAT deplovment                    done
 3rd week      Updatinq the code to encrvpt the sensitive data          done
 3rd week      Deolovments to the test seryers                          done
 4th week      SRGS Grammar Functionalitv                               done
 4th week      creatinq the test Plans and validations                  done
 4th week      Debuo the test errors.                                   done




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                                                                            .f
       Pavan Kumar                                       Employee Signatrfre: VinayKumar Swarna
       Operation Manager




Project Status Report of VinayKumar Swatna for the month of February 2017

4104 Sterling Road, Downers Grove, IL-60515. Phone 630-493-945819459




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                                                                  Eving th€ w8y for Teehnology




                                     Ju   2018 Status



  1st week   Build of Test Apo with Q&A                                       done
  1st week   Audio Prompt Recordino                                           done
  1st week   Pluoin Uodated from interactions                                 done
 2nd week    Enrollment and verification Activities                           done
 2nd week    Biometrics Platform uodate                                       done
 2nd week    Hioh level Desion                                                done
 3rd week    Hiqh level Desiqn review and baseline                            done
 3rd week    Platform Development                                             done
 3rd week    CAT Deplovment                                                   done
 4th week    Testinq the API's and DB accordinq to the test document          done
 4th week    Defect loooino reoort                                            done
 4th week    Uodatino the code in version control tool                        done




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      Pavan Kumar                                        Employee sigout ("tVinayKumar Swarna
Operation Manager




4104 Sterling Road, Dorvners Grove, IL-60515, Phone 630-493-945819459




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                         ITINERARY OF SERVICES OF MR.           VIW

Beneficiary Mr. Vinaykumar Swarna is a Tekway Inc Full Time Employee. He shall be assigned
to work at client location 1324 South Finlev Road.        -1D. Lombard. IL-60148. The duration of
the project is until June. 2020 with high probability of further extension(s)




Client details:

Name: AT&T

Address: 20205 North Creek Pkwy, Bothell, WA 98011
Contact Person: Jann Kelliher
Designation: Associate Director- Technology
Phone: (360)344-6147.

Vendor details:

Name: Pinnacle                  cal Resources

Address: 5501 Lyndon B Johnson Freeway, Dallas, TX75240.
Contact Person: Rebecca Abraham
Designation: Client services lead.
Phone: (214)466-2644.




Emplover details:

Name: Tekway Inc.

Address: 4104 Sterling Road, Downers Grove, IL-60515
Contact Person: PavanKumar Nallamala
Designation: Operations Manager
Phone: (630)493-9459.




4   1   04 Sterling Road, Dorvners Grove, IL-605 1 5, Phone 630'493 -9458 I 9459




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                                                                                           Tekway
                                                                                        Pating thlr r#rl filrl.nchnql+gy
Break-up of percentage and hours worked per week for each job responsibility:




                                                                        rliiii   rr:i



                  Job Duties                                  Number of                      Percentage of time
                                                              Hours in    a
                                                              week
 1.       lnvolving in analyzing the business
          requirements and Functional specifications.
              o lnvolved in gathering the system
                  requirements.
              o lnteracting with the other teams about        4 hours                        IO%
                  finalizing and clarifying the
                  requirements.
              . The system requirements will be
                  approved and sent for the next level
                  approvals.
              o    Participating in daily review meetings
                   to meet the quality deliverables with in
                   the time frame.
2.        Designing and lmplementation of Biometrics
          application.
             o Based on the system requirements
                   document the code will be enhanced to
                   meet the requirements.
             . The Java API's has developed, modified
                  and enhanced.
              r   An interface is designed and developed
                  to communicate between the
                  Biometric applications and Voice tone.
              o   HTTPS is used for communications
                  between the applications and
                  Application interface. IBM HTTP 8.5 has
                  been used for the communication.
              o   Subversion is used as source code
                  management tool.                            17 hours                       45%
              .   The WebSphere servers has the
                  software installed and can be accessed
                  via each server or a virtual lP address.




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            a   An oracle Database is connected as
                data source to fetch the voiceprints for
                authentication.
            a   For the software development Rational
                Application developer 9.0(RAD) has
                being used.
            o   For the Pre -production software
                defect management AT&T one ticketing
                system has been used.
3.      Testing the Biometrics Application lnterface:
            r    Based on the Design and Flow ofthe
                application testing cases has been
                written and implemented the testing.       4 hours    1.0%
            o    Executed Sql queries to make sure the
                data availability and data source
                connection.
            o   After running multiple test cases test
                report has been generated and
                deployed for CAT.
4       Production Support:
            o   Developing a roll back plan to use in
                case of lssues.
           o    Coordinated the test and production
                deployments and resolved the issues
                during the deployments.
           r    Provided the weekend supports to
                system upgrades and provided
                technical support in need of back outs.
           o    Provided support to address the
                WebSphere and windows server issues.       15 hours   3s%
           r    Providing the Tier One support for the
                users.
           o    Manage the users, administrators, and
                application/mechanized accounts in
                our resource and ensure the
                appropriate level of access according to
                the security policy and Requirements.
           r    Periodically review the MOTS
                application associated to our resource
                and ensure its accuracy.
           o    Manage the content of our resource in
                accordance with organization records
                and lnformation management (RlM).
           o    lnvolved in on-callapplication
                production support,




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            ln Progress:
                 .   Updating the code with the gathered
                     requirement to enhance the VBIO
                     application.
                 r   Testing on the Biometrics system using
                     the raw data.
                 o   Enhancing the Finger Biometrics
                     application for faster response.
            ln Planning;
                 r   Enhancing the application with new
                     voice engine and updating the voice
                     biometrics according the new Engine.
                 r   Update the Database with the New
                     Voice Samples.
                 o   Updating the FBIO code with the new
                     requirements and configuring new
                     servers, and deploying the application
                     on them.
                 o   Migrating both FBIO and VBIO
                     applications to New web servers with
                     high configuration.




Yours's sincerely,




 X
 Employee Name




 X
 Employer Name




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                    WORKFGRCT SOLUTIONS PROVI DIR

      March 13, 2018

      To Whorn     It   May Concern:

      Pinnacle Technical Resources, Inc. is utilizing the services of Vinay K Swarna,
      through a contractual retationship with his employer, Tekway, Inc. vinay K
      Swarna is providing application development consulting seruices to our client,
      AT&T, The work ts being performed at the client site. Vinay K Swarna will be
      engaged with appropriate experience and educational background.

      A signed "Master Consulting Services Agreement" between Pinnacle Technical
      Resources, Inc. and AT&T cannot be provided because of the "Confidentiality
      and Non-disclosure Information" section of the Agreement. However, we,
      Pinnacle, do substantiate that our Agreement with our client is long term. Vinay
      K $warna will continue to provide the services cn a long term, ongbing basis to
      our client with an option to extend, at their worksite.

     During this ccntract and at all...times, Pinnacle and AT&T are not responsible for
     Vinay K swarnak employment, salary, beneflts, and training needed t0 pedorm
     his job duties at our client site. All day-to-day activities wilibe controlled by his
     employer, Tekway, Inc., along with any discretionary decision making, such has
     hiring and firing and peformance evaluations.

     Should you have any questions, please feel free to contact Pinnacle direcfly.




     Todd Green, SFHR
     Supply Chain Manager




5501 Lynelon S. Jolrnson Frcn'*ray, Suits   S00 i tlalia::,   Texets   7524t)   I It] 214.74]'2424 [t] ?14'74C'24j14
                                                 pinnaclel.c-am


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           Case 1:19-cv-00358-BAH Document 4-3 Filed 04/29/19 Page 44 of 46


                                                                                      Shirley Delia
                                                                                   Supplier Liaisan
                                                                                  Human ftesourca$
                                                                                        1 AT&T Way
       at&t                                                                    Bedrninoter, NJ 079?t
                                                                                       908-234-3681




March 14,2018


To Whom lt May Concern;

Vinay Kumar Swarna has been assigned by their employer to perform services for AT&T at ils
facilities located at 1324 South Finley Fload, Apl-1D, Lombard, lL 60148 pur$uant to a conlract
betlveen AT&T $ervices Jnc., and Pinnacle Tephnical Resources,

Vinay Kumar,$warna provides services by arrangements between the er"nployer of Vinay Kurnar
Swarna, Tekway, lnc., and Pinnacle Technical Regources.
The terms and conditions of the contract between AT&T $eryices, lnc., and Pinnacle a.e cCInfidenilal.
Vinay Kumar Swarna is currenlly scheduled to provide services to ,AT&T through ilecernber 27,
2019, with a possitlitify ol exlensiort in accordance with the terms of the applicable contract{s}.

Vinay Kumar $warna's responsibilities irrclude, but are not limited to:

       r   Participale$ in the review and dafinition of functional areasi process€$ ancl procedures
           regarding requirements, orgariization and flow of data, rnethods and forms.
       r   Provides problem resolution; Communicates and recommends complex business
           process, procedures and diverse information to resotve customer issues.
       .   Provides sy$tems and programming support to functionalareag.
       .   Provides knowledge transfer and suppcrt$ u$ers on installed software"

Vinay Kumar $warna's employer, Tekway, lnc.. not AT&T Services or its afliliates, provides them
with compensation, has lhe authority to assign them to pedorm services tor one or another of its
customers, has conlrol of its employees and is responsible for payment of salaries, administration
ol benefits and payment of taxes on behalf of its employees for the duraliorr of their enrployment
with it.

$hould you have any questions, please feel free lo contact me.

Sincerely,


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               dil.ilru
                 J
Shirley Defia




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         TEKWAYINC                                                                                            PH: 630-493-9458
                                                                                                              WWW.TEKWAYINC.COM
          ORGANIZATIONAL CHART


                                                  ROHINI VEERAMACHANENI
                                                                   PRESIDENT


                                                                      o

                                                            PAVAN KUMAR
                                                        PROJECT MANGER, OPERATIONS


            a                              a                          a


    DEVI BELLAM                                                                                                      VENKATA MARUTHI MANOJ
                           SAI SAGAR DUNDIGALA                 i
                                                                               TEJASRIRAM MALLIPEDDI             i


   SR JAVA DEVELOPER         INFRASTRUCTURE ENGINEER                             I   NFRASTRUCTURE ENGINEER                 GONTLA
                                                                                                                      SR SOFTWARE SYSTEMS ENGINEER


            a                              a


    GOPI POTLA               KRUTHIKA AGARWAL                                  BINTU VEERAMACHINENI                   SANDEEP DAVULURI
 INFRASTRUCTURE ANALYST          SALES FORCE ENGINEER                                INFRASTRUCTURE ANALYST            INFRASTRUCTURE ANALYST



            a


MANOJ KUMAR KODURU          STEVENSON SUNCHU                                           ABHINAV KOTA                   HARIKA ADUSUMALLI
  SR. JAVA DEVELOPER           SR- JAVA DEVELOPER                                      SR, JAVA DEVELOPER                  SR. JAVA DEVELOPER
                                                               .




            O                              a                          a


JAGADEESH BALUSU             SAI KISHEN THENTU                                         VISHAL BURRA                    DEEPTHISHA JALLI
  SOFTWARE DEVELOPER /            SR. JAVA DEVELOPER                                  SOFTWARE DEVELOPER /              SOFTWARE DEVELOPER /
  PROGRAMMER ANALYST                                                                  PROGRAMI\4ER ANALYS_              PROGRAMMER ANALYST

            a                              O                                                  o

JASWANTH POTHINENI           SRIKANTH NADIPALLI                                  DEEPTHI GANDRA                          VINAY SWARNA
  SR. JAVA DEVELOPER                                               a o o              PROGRAMMER ANALYST                SOFTWARE DEVELOPER /
                                  A.UTOMATION ENGINEER
                                                                                                                        PROGRAMMER ANALYST




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                       LAKSHMI SUNANDA                     SRAVYA KANDUKURI             PAVAN KUMAR
CHAKRADHAR MADALA          ALLURI                                                        VEERAVALLI
   OMCLE DEVELOPER        ORACLE DEVELOPER                     ORACLE DEVELOPER         ORACLE DEVELOPER




                       KRISHNA SANDEEP
                          CHANDURI
                          ORACLE DEVELOPER




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